    Case 16-17494             Doc 39     Filed 03/13/20 Entered 03/13/20 23:25:58                  Desc Imaged
                                         Certificate of Notice Page 1 of 2
Form defdso13

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                               Case No. 16−17494
Karmin J Neal−Young                                            :
20925 Barker St.                                               Chapter : 13
Lynwood, IL 60411                                              Judge :   Deborah L. Thorne
SSN: xxx−xx−0618 EIN: N.A.
aka Karmin Young, aka Karmin Neal, ...




                         NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 12/13 CASES
                               OF REQUIRED DOCUMENT FOR DISCHARGE


         In order to receive a Discharge, you must file the following document.

            Debtor's Declaration Domestic Support Obligations.
       Please complete the local form titled Debtor's Declaration Regarding Domestic Support Obligations. If a joint
petition was filed, each spouse must complete and file a separate declaration.

    The local form, Debtor's Declaration Regarding Domestic Support Obligations, is available on our website at
www.ilnb.uscourts.gov/Forms/Form_Orders.cfm

       If you do not file the required document, your case will be closed without a discharge. You will still be liable
for the current balance of the debts you owed before filing. If you subsequently file a Motion to Reopen, you must
pay the reopening fee.
         If you are represented by an attorney, please contact your attorney for guidance.
         If you have any questions about submitting the form, please call 312−408−5000.

                                                              FOR THE COURT



Dated: March 11, 2020                                         Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
          Case 16-17494            Doc 39       Filed 03/13/20 Entered 03/13/20 23:25:58                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 16-17494-DLT
Karmin J Neal-Young                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: tjernigan                    Page 1 of 1                          Date Rcvd: Mar 11, 2020
                                      Form ID: defdso13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 13, 2020.
db             +Karmin J Neal-Young,   20925 Barker St.,   Lynwood, IL 60411-8735

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 13, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 11, 2020 at the address(es) listed below:
              Joseph S Davidson    on behalf of Debtor 1 Karmin J Neal-Young jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Marilyn O Marshall    courtdocs@chi13.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Timothy R Yueill    on behalf of Creditor   Wilmington Savings Fund Society, FSB, as Trustee of
               Stanwich Mortgage Loan Trust A timothyy@nevellaw.com
              Timothy R Yueill    on behalf of Creditor   Wilmington Savings Fund Society, FSB, as trustee of
               Stanwich Mortgage Loan Trust B timothyy@nevellaw.com
                                                                                             TOTAL: 5
